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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                 ABILENE DIVISION

H.I.D.R. and O.A.S.,

        Petitioners-Plaintiffs,

v.                                                               No. 1:25-CV-060-H

DONALD J. TRUMP, in his official
capacity as President of the United States, et
al.,

        Respondents-Defendants.

                                             ORDER

       Before the Court is the petitioners’ petition for a writ of habeas corpus and complaint

for declaratory and injunctive relief (Dkt. No. 1) and emergency application for a temporary

restraining order (Dkt. No. 2).

       Under Federal Rule of Civil Procedure 65(b), the Court may not issue a temporary

restraining order unless certain prerequisites are satisfied:

       The court may issue a temporary restraining order without written or oral
       notice to the adverse party or its attorney only if: (A) specific facts in an affidavit
       or a verified complaint clearly show that immediate and irreparable injury, loss,
       or damage will result to the movant before the adverse party can be heard in
       opposition; and (B) the movant’s attorney certifies in writing any efforts made
       to give notice and the reasons why it should not be required.

In addition, under Federal Rule of Civil Procedure 65(a), “[t]he court may issue a

preliminary injunction only on notice to the adverse party.” Rule 65 thus requires notice to

a defendant before the issuance of a temporary restraining order unless certain exceptions

have been met.

       The petitioners’ motion for a temporary restraining order is filed on an emergency

basis and requests a “temporary restraining order as soon as possible” for the petitioners,
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although it appears that relief is sought within 24 hours. See Dkt. No. 2 at 2 (claiming that

the petitioners “are in imminent danger of being removed from the United States—(with 24

hours or less notice)”).

       To enable the Court to adequately consider any argument the government has, the

petitioners are ORDERED to, by no later than 10:00 a.m. CT on April 18, 2025, either:

       (1) File a brief explaining why the petitioners believe an exception has been met to
           the notice required under Rule 65, if the petitioners wish to proceed without
           notice to the defendants; or

       (2) Provide the Acting United States Attorney for the Northern District of Texas,
           Chad Meacham, a copy of their habeas petition (Dkt. No. 1), motion for a
           temporary restraining order (Dkt. No. 2), and this Order. The petitioners must
           also file, as soon as possible after serving the government, a notice on the docket
           in this case informing the Court that they have provided these pleadings and
           documents as ordered.

       In Trump v. J.G.G., 604 U.S. ___, 2025 WL 1024097 (2025), the Supreme Court of

the United States noted that that “an individual subject to detention and removal under [the

Alien Enemies Act] is entitled to judicial review as to questions of interpretation and

constitutionality of the Act as well as whether he or she is in fact an alien enemy fourteen

years of age or older.” 2025 WL 1024097, at *2 (internal quotation marks and citation

omitted). The government did not dispute in that litigation that such detainees get judicial

review. Id. The Supreme Court also held that the “Fifth Amendment entitles aliens to due

process of law” in removal proceedings: specifically, that AEA detainees “must receive

notice . . . that they are subject to removal under the Act. The notice must be afforded

within a reasonable time and in such a manner as will allow them to actually seek habeas

relief in the proper venue before such removal occurs.” Id.




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      The government must file its response to the petitioners’ motion for a temporary

restraining order by no later than 4:00 p.m. CT on April 18, 2025. The government’s brief

should address:

      (1) Whether the government intends to remove H.I.D.R. and O.A.S. pending the
          Court’s resolution of the petitioners’ request for a temporary restraining order;

      (2) Whether the government’s view of the requirement in Trump v. J.G.G. of “judicial
          review” includes not removing H.I.D.R. and O.A.S. until their habeas petition is
          resolved, and, if not, what process will be provided to H.I.D.R. and O.A.S.
          before removal; and

      (3) Any other matters that the government wishes to address in response to the
          petitioners’ motion for a temporary restraining order.

       So ordered on April 18, 2025.




                                              James Wesley Hendrix
                                              United States District Judge




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